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                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA

____________________________________
                                    :
CREATIVE PHOTOGRAPHERS, INC.,       :
                                    :
     Plaintiff,                     :
                                    :
v.                                  :                              Civil Action No.:
                                    :                              1:22-cv-00655-JPB
JULIE TORRES ART, LLC, ET AL,       :
                                    :
     Defendants.                    :
____________________________________:

     CREATIVE PHOTOGRAPHERS, INC.’S MEMORANDUM OF LAW IN
       OPPOSITION TO DEFENDANTS JULIE TORRES ART, LLC AND
                JULIE TORRES’ MOTION TO DISREGARD
               PLAINTIFF’S IMPROPER RESPONSE BRIEF

                                             ARGUMENT

                               I. IMPROPER FORMATTING

A. Plaintiff’s failure to follow Local Rules 5.1 and 7.1 was the result of David
   C. Deal.

        Plaintiff concedes it did not follow the clear and unambiguous rules of this

Court. Specifically, Plaintiff drafted and submitted a brief [Dkt. 32] that contained

Times New Roman font in twelve-point font, instead of the required fourteen-point

font. Plaintiff submitted the brief in excess of the twenty-five-page limit. Plaintiff

submitted the brief with a top-of-the-page margin of one-inch instead of the one-


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and-one-half inch standard. Plaintiff filed its brief without a Certificate of

Compliance.

        All of the above failures are the result of David C. Deal (“Deal”), Plaintiff’s

Lead Counsel, admitted Pro Hac Vice in this case. [Deal Declaration].

    II. APPROPRIATE REMEDY FOR FAILING TO FOLLOW LOCAL
    RULES CONCERNING FORMATTING IS ORDER PLAINTIFF TO RE-
             FILE PROPERLY FORMATTED DOCUMENTS

    A. Case Decided on the Merits

        While Local Rule 7.1(F) provides this Court with the option of declining to

consider any motion that fails to conform with Local Rule requirements, the

measure is discretionary. In this case, Plaintiff’s failure to submit a proper

formatted document occurred prior to the discovery stage. The cases cited by

Torres in its Motion to Disregard overwhelmingly concern litigation in the

summary judgment phase. See Aldridge v. Travelers Home and Marine Ins. Co.,

No. 1:16-cv-01247-SCJ, 2019 U.S. Dist. LEXIS 230313 (N.D. Ga. Feb. 21, 2019);

Pelican Communs., Inc. v. Travel Ctr. Entm’t, LLC, No. 1:15-cv-02878-SCJ, 2019

U.S. Dist. LEXIS 224804 (N.D. Ga. Sept. 16, 2019); Milon v. Bank of Am., N.A.,

No. 1:14-CV-01405-MHS-GGB, 2015 U.S. Dist. LEXIS 180377 (N.D. Ga. Feb.

19, 2015); Ali v. Pendergast & Assocs., P.C., No. 1:12-CV-02983-RWS-GGB,

2014 U.S. Dist. LEXIS 187881 (N.D. Ga. May 30, 2014); Mager v. Henry Schein,


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Inc., No. 1:13-CV- 3321-WBH, 2014 U.S. Dist. LEXIS 188999 (N.D. Ga. July 30,

2014).

        The lone exception is Malone v. Cherokee Cty., where plaintiff’s complaint

was deemed to be a “shotgun submission,” and cited the wrong amendment to the

U.S. Constitution, along with being improperly formatted. No. 1:17-cv-1666-

WSD, 2018 U.S. Dist. LEXIS 22056, at *5, n.4 (N.D. Ga. Feb. 9, 2018).

                  III.    FAIR USE IS AN AFFIRMATIVE DEFENSE

        If this Court decides to disregard Plaintiff’s Opposition to Torres’ Motion to

Dismiss, fair use remains an affirmative defense to a claim of copyright

infringement, and therefore Torres bears the burden of proof. CPI does not bear the

burden of proving infringement by Torres, as detailed in CPI’s First Amended

Complaint [Dkt. 29], is not fair use.

        Under Federal Rule of Civil Procedure 8(c), an affirmative defense “is a

defense that does not negate the elements of the plaintiff's claim, but instead

precludes liability even if all of the elements of the plaintiff's claim are proven.”

Barnes v. AT & T Pension Benefit Plan-Nonbargained Program, 718 F.Supp2nd

1167, 1173-74 (N.D. Cal. 2010) (internal quotation marks omitted). Vandel v.

Corelogic, Inc. Case No. 14-cv-1158-BAS-JLB, at *3 (S.D. Cal. Nov. 17, 2015)




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        A claim of fair use is an affirmative defense with the burden of proof on the

putative infringer. See Harper & Row, Publishers v. Nation Enters., 471 U.S. 539,

562, 105 S.Ct. 2218, 85 L.Ed.2d 588 (1985); Cambridge Univ. Press v. Patton, 769

F.3d 1232, 1280 (11th Cir. 2014). Code Revision Comm’n v. Pub. Resource.org,

Inc. 244 F. Supp. 3d 1350, 1357 (N.D. Ga. 2017).

        Fair use is a defense that can excuse what would otherwise be an infringing

use of copyrighted material. Cambridge Univ. Press v. Patton, 769 F.3d 1232,

1238 (11th Cir. 2014)(citing 17 U.S.C. § 107 (“[T]he fair use of a copyrighted

work . . . is not an infringement of copyright .”)). “To prevail on a claim of fair

use, a defendant must convince the court that allowing his or her unpaid use of

copyrighted material would be equitable and consonant with the purposes of

copyright.” Id. “In order to make this determination, the court must carefully

evaluate the facts of the case at hand in light of four considerations, which are

codified in the Copyright Act of 1976: (1) the purpose of the allegedly infringing

use , (2) the nature of the original work, (3) the size and significance of the portion

of the original work that was copied, and (4) the effect of the allegedly infringing

use on the potential market for or value of the original.” Id.

        In contrast, in order to establish a prima facie case of copyright

infringement, “two elements must be proven: (1) ownership of a valid copyright,


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and (2) copying of constituent elements of the work that are original.” Feist

Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361, 111 S.Ct. 1282, 1296,

113 L.Ed.2d 358 (1991).

        Torres’ Motion to Dismiss [Dkt. 31] does not include assertions CPI failed

to allege the two required elements of copyright infringement. Rather, Torres

asserts its infringement is defensible under the doctrine of fair use, an affirmative

defense. CPI is the plaintiff in this matter and is not required to include in its

complaint or subsequent amended complaint(s) evidence to rebut Torres’ fair use

defense.

        In fact, moving to dismiss under Rule 12(b)(6) on the basis of an affirmative

defense is generally improper. Brownmark Films LLC v. Comedy Partners, 682

F.3d 687, 690 (7th Cir. 2012). A motion to dismiss under Rule 12(b)(6) “tests

whether the complaint states a claim for relief.” Id. “[A]n affirmative defense is

external to the complaint” and the “mere presence of a potential affirmative

defense does not render the claim for relief invalid.” Richards v. Mitcheff, 696 F.3d

635, 637–38 (7th Cir. 2012) (noting the general rule that a plaintiff need not plead

around affirmative defenses). See also Murphy v. DCI Biologicals Orlando, LLC,

(“Typically, a defendant does not have an opportunity to prove affirmative

defenses in a motion to dismiss, as affirmative defenses do not constitute elements


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of a plaintiff's claim. However, ‘dismissal under rule 12(b)(6) may be appropriate

based on a successful affirmative defense [ ][if] that defense . . . appear[s] on the

face of the complaint.’” No. 6:12-cv-1459-Orl-36KRS, 2013 WL 6865772, at *5

(M.D. Fla. Dec. 31, 2013).

        Further, fair use is a mixed question of law and fact. Harper & Row

Publishers, Inc. v. Nation Enters., 471 U.S. 539, 560, 105 S.Ct. 2218, 85 L.Ed.2d

588 (1985). The court's determination of whether the elements of fair use are

satisfied involves weighing at least four statutory factors, which require making

factual findings or relying on undisputed or admitted material facts. Browne v.

McCain, 612 F.Supp.2d 1125, 1130 (C.D.Cal.2009). (“Based on a court’s narrow

inquiry at this stage and limited access to all potentially relevant and material facts

needed to undertake the analysis, courts rarely analyze fair use on a 12(b)(6)

motion.”)

        Courts generally do not address the fair use defense until at least the

summary judgment phase. Graham v. Prince, No. 15 Civ.10160 (SHS), 2017 WL

3037535, at *14 (S.D.N.Y. July 18, 2017). See also Thornton v. J Jargon Co., 580

F. Supp. 2d 1261 (M.D. Fla. 2008) (“. . . the Court finds that it is premature to

address the merits of this defense, as there are underlying issues of material fact.”).




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        If this Court decides on a remedy other than disregarding Plaintiff’s

Opposition to Torres’ Motion to Dismiss as filed on April 20, 2022 (Dkt. 32),

Plaintiff has attached a revised version of Plaintiff’s Opposition to Torres’ Motion

to Dismiss to Plaintiff’s Response to Defendants Julie Torres Art, LLC, and Julie

Torres’ Motion to Disregard Plaintiff’s Improper Response Brief with exhibits

(Dkt. 35) that complies with formatting and page length requirements of the Local

Rules for the court’s consideration.




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                                            CONCLUSION

        WHEREFORE, for the above-stated reasons, Plaintiff CPI requests this

court deny Defendants Julie Torres Art, LLC, and Julie Torres’ Motion to

Disregard Plaintiff’s Improper Response Brief.


Dated: May 6, 2022

                                                  /S/ Gregory S. Smith
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                                                  -and-

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                                                  Counsel for Plaintiff
                                                  Admitted Pro Hac Vice




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                   CERTIFICATION OF COMPLIANCE WITH LR 5.1

        Counsel for Plaintiff CREATIVE PHOTOGRAPHERS, INC. certifies that

this document was prepared with Times New Roman 14-point font.



                                                  /s/ David C. Deal
                                                  David C. Deal




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                       UNITED STATES DISTRICT COURT
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____________________________________
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CREATIVE PHOTOGRAPHERS, INC.,       :
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     Plaintiff,                     :
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v.                                  :                              Civil Action No.:
                                    :                              1:22-cv-00655-JPB
JULIE TORRES ART, LLC, ET AL,       :
                                    :
     Defendants.                    :
____________________________________:

                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 6, 2022, I electronically filed the foregoing

document with the Clerk of Court using the EM/ECF System which will

automatically send email notification to all attorneys of record. I have also served

the foregoing via US Mail and email to counsel for Plaintiff as follows:

John M. Bowler
TROUTMAN PEPPER
HAMILTON SANDERS LLP
600 Peachtree Street, NE, Suite 3000
Atlanta, Georgia 30308-2216

Dated: May 6, 2022.

                                                  /s/ David C. Deal
                                                  David C. Deal



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